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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 ROOT, INC., et al.,                             :      Case No. 2:23-cv-00512-SDM-CMV
                                                 :
        Plaintiffs,                              :      Judge Sarah D. Morrison
                                                 :      Magistrate Judge Chelsey M. Vascura
                v.                               :
                                                 :
 BRINSON CALEB SILVER, et al.,                   :
                                                 :
        Defendants.                              :
                                                 :


              AGREED MOTION FOR EXTENSION OF TIME TO OPPOSE
                      MOTION TO DISMISS (ECF NO. 94)

       Plaintiffs, Root, Inc., Caret Holdings, Inc. and Root Insurance Agency, LLC (collectively

“Root”), respectfully move this Court for an additional seven (7) day extension of time to file an

opposition to the Motion to Dismiss (ECF No. 94) filed by Specially Appearing Defendants

William Campbell and Quantasy & Associates, LLC (collectively, the “Quantasy Defendants”).

Root’s opposition is currently due June 15, 2023. The requested extension would move the due

date to June 22, 2023. One prior fourteen (14) day extension was granted to Root (See ECF Nos.

106 and 107). This request is not for the purposes of delay; Root simply needs more time to fully

brief the issues raised in the Quantasy Defendants’ fifty-four (54) page Motion. Counsel for Root

and Counsel for the Quantasy Defendants have conferred regarding this Motion, and the Quantasy

Defendants do not object and agree to the requested extension of time.

       Accordingly, Root and the Quantasy Defendants move for an extension until June 22, 2023

to file a response to the Quantasy Defendant’s Motion to Dismiss.
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Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 9th 2023, a true and accurate copy of the foregoing was filed

electronically. Notice of this filing has been sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

       A copy was also sent by ordinary U.S. Mail, postage prepaid, to the following:

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                                                     /s/ William D. Kloss, Jr
                                                     William D. Kloss, Jr.

                                                     Counsel for Plaintiffs




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